     Case 3:19-cv-07270-WHA Document 190-1 Filed 03/25/21 Page 1 of 3



 1   MAYER BROWN LLP
     Archis A. Parasharami (State Bar No. 321661)
 2   Kevin Ranlett (pro hac vice)
     Daniel E. Jones (pro hac vice)
 3   1999 K Street NW
     Washington, DC 20006
 4   Telephone: +1.202.263.3000
     Facsimile: +1.202.263.3300
 5   Email:      aparasharami@mayerbrown.com
                 kranlett@mayerbrown.com
 6               jones@mayerbrown.com

 7   Matthew Ingber (pro hac vice)
     Jarman D. Russell (pro hac vice)
 8   1221 Avenue of the Americas
     New York, New York 10020
 9   Telephone: +1.212.506.2500
     Facsimile: +1.212.849.1910
10   Email:     mingber@mayerbrown.com
                jrussell@mayerbrown.com
11
     Attorneys for Defendant
12   CRICKET WIRELESS, LLC

13                             UNITED STATES DISTRICT COURT

14                         NORTHERN DISTRICT OF CALIFORNIA

15

16   JERMAINE THOMAS, et al.,                       Case No. 3:19-cv-07270-WHA

17                    Plaintiffs,                   DECLARATION OF JARMAN D.
                                                    RUSSELL IN SUPPORT OF CRICKET
18          v.                                      WIRLESS LLC’S MOTION TO
                                                    EXTEND ALL DEADLINES BY 90
19   CRICKET WIRELESS, LLC,                         DAYS

20                    Defendant.

21

22

23

24

25

26

27

28


                                                        DECLARATION OF JARMAN D. RUSSELL;
                                                                CASE NO. 3:19-CV-07270-WHA
     Case 3:19-cv-07270-WHA Document 190-1 Filed 03/25/21 Page 2 of 3




 1           I, Jarman D. Russell, declare as follows:
 2           1.      The facts contained in this declaration are based on my personal knowledge, and I
 3   can testify competently to them if called upon to do so.
 4           2.      I am counsel at the law firm Mayer Brown LLP and represent defendant Cricket
 5   Wireless, LLC (“Cricket”) in this action.
 6           3.      To date, Cricket has produced 2,509,780 pages of documents in discovery.
 7           4.      On March 22 and 25, 2021, counsel for Cricket met and conferred with plaintiffs’
 8   counsel regarding Cricket’s 90-day extension request. And plaintiffs’ counsel refused to consent to
 9   the request.
10           5.      Attached hereto as Exhibit A is a true and correct copy of Cricket’s February 26,
11   2021 letter to plaintiffs’ counsel.
12           6.      Prior to its recent discovery of this data, Cricket had stated in written discovery
13   responses and in a Rule 30(b)(6) deposition that it had stopped retaining nine of the custodial files
14   before this action was filed.
15           7.      During the parties’ March 22, 2021 meet and confer, Cricket’s counsel informed
16   plaintiffs’ counsel that Cricket had found additional data that appeared to include marketing
17   materials.
18           8.      Attached hereto as Exhibit B is a true and correct copy, without exhibits, of
19   plaintiffs’ March 2, 2021 letter to Cricket.
20           9.      Attached hereto as Exhibit C is a true and correct copy of Cricket’s March 24, 2021
21   letter to plaintiffs’ counsel.
22           10.     As of the filing of this motion, Cricket has not reviewed the content of the custodial
23   files. Indeed on March 12, 2021, at plaintiffs’ request, Cricket instructed its document vendor to
24   stop processing the custodial files and hard drives while the parties met and conferred regarding
25   why the data had not been found in Cricket’s initial searches to respond to plaintiffs’ document
26   requests.
27           11.     During a March 25, 2021 meet and confer, plaintiffs informed Cricket that they
28   reserve the right to argue that Cricket should never review the recently discovered data because it
                                                     -2-
                                                                 DECLARATION OF JARMAN D. RUSSELL;
                                                                         CASE NO. 3:19-CV-07270-WHA
     Case 3:19-cv-07270-WHA Document 190-1 Filed 03/25/21 Page 3 of 3




 1   should be excluded entirely from the evidence in this litigation.
 2

 3   Executed at Maplewood, New Jersey on March 25, 2021.
 4

 5                                                 /s/ Jarman D. Russell
                                                   Jarman D. Russell
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27
28
                                                     -3-
                                                                 DECLARATION OF JARMAN D. RUSSELL;
                                                                         CASE NO. 3:19-CV-07270-WHA
